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Anant Kumar Tripati 102081 Lo

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Arizona State Prison-East Unit

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Post Office Box 5000
Florence, Arizona 85132 MAY 14 2024

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DISTRICT OF ARI

Plaintiff, Pro Per ee

UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT

ANANT KUMAR TRIPATI, A CIV 18-0066 TUC RM (CONS)
Plaintiff. NOTICE OF APPEAL AND

REQUEST FOR COUNSEL

Vs.

CORIZON INC et al.,

Defendants.

:

Plaintiff appeals the judgment and post trial motion in this
matter. Due to the complexity of these issues, he asks for the
appointment of counsel, to aid the court.

ISSUES FOR THIS APPEAL
q 1 When I showed in my Rule 56(d) Declarations specific facts that
are in the documents, I asked for and defendants refused to give

me, specifying what the documents were, it was error to deny that
motion. Jones v. Blanas, 393 F.3d 914 (9 Cir. 2004)

{ 2 When by clear and convincing evidence I showed, through
documents created by Defendants and court orders by Arizona
Federal Judges that Defendants, after the filing of the complaints,
and while these proceedings were pending, seized evidence from me
that pertained to the allegations, that were in the original

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complaints in these cases, it was error to deny leave to
amend/supplement. Keith v. Volpe, 858 F.2d 467, 474 (9 Cir.
1989)

{ 3 When in my Rule 59 and inherent power motions, I produced
court orders by Arizona Federal Judges, along with documents,
showing that these Defendants and their lawyers, at the time they
denied the existence of specific records I asked for and submitted
declarations, they knew these declarations were false, it was error
to refuse to vacate the judgment.

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Convincingevidence That Defendants Have The Evidence | Need And Refuse To Give These To

Me 8

My Rule 56(D) Applications Should Have Been Granted Because | Set Forth In Very Detail What
Evidence Was Concealed, What The Evidence Would Have Revealed, And Subsequent Decision
By Judge Roslyn O. Silver Is Evidence That Are Not Part Of Inmate Medical Records As | Have

Set Forth In My 56(D) Declarations 12

| Have Shown By Orders Judge Silver And Other Arizona Federal Judges By And Through The
Use Of Strawmen, Wexford, Corizon, Centurion, Ryan, Shinn With The Attorney For Defendants,

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After Judge Silver Directed A Statement Under Penalty Of Perjury, Corizon, Centurion, Ryan,
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System As To The Plaintiff 16

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These Lawyers Have Violated The Public Policy Of Fairness And Truthseeking Used By Federal
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| Have Presented Clear And Convincing Evidence That The Evidence | Asked For And Which
Defendants Denied Existed, Exist And Would Have Changed The Results AsToMe 23

| Have By Clear And Convincing Evidence Shown That Upon Directives Of Counsel And
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EXHIBITS A
{ 4 Documents created by prison officials informing me that I
should not grieve the issues as to my medical condition, and they
will decide what issues I shall be allowed to grieve.

EXHIBITS B

{ 5 Documents showing that Grievance Coordinator, Boschuweicz
is destroying grievance records, and created alternate records. They
also show when I complained to ADOC management against her,
they directed the person destroying the records to investigate and
clear herself.

EXHIBITS C
{ 6 Documents shows Boschuweicz destroys records and
removing all records of grievances having being ever turned in.
There is no record of these in prison records, though prison staff
have signed receipts receiving them, as Boschuweicz destroyed and
altered the records.

EXHIBITS D

{ 7 Documents from the 13 year investigation by the Inter-
American Commission on Human Rights about the conduct against
me by Arizona.

EXHIBITS E

{ 8 Documents showing prison authorities losing my original
records, and creating alternate records that support what they want
the records to state, at the time the issue is being reviewed.

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EXHIBITS F
{ 9 Documents showing prison authorities asking prison officials
to manufacture records when it pertains to me because I have
challenged their falsifying evidence.

EXHIBITS G
{ 9 Documents showing Paul Edward Carter, counsel in this case,
asking prison authorities to forge documents when it comes to me.
He has done this, because since bout 1993, he has been very active
in concealing evidence, falsifying evidence, in prisoner litigation,
and I am one of the few who is repeatedly pointing this out to the
courts, who decline to order hearings.

EXHIBITS H
q 10 Court order finding Boschuweicz retaliated and destroyed
records as to inmate grievances.

EXHIBITS I
{ 11 Letter from counsel to ADOC director about retaliation.

EXHIBITS J
{ 12 Letter from counsel to Defense counsel and me about
retaliation.

EXHIBITS K
{ 13 ADOC refused to give me records I asked for, but gave me
partial records, after this case was closed, on April 23, 2021

EXHIBITS L
| 14 Order directing Corizon to produce emails because emails are
not a part of inmate medical records, though they speak of inmate
treatment.

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EXHIBITS M
| 15 Letter to Class counsel

EXHIBITS N
{16 Prison authorities directing my treatment be changed for non
medical reasons.

EXHIBITS O
{ 17 Corizon mysteriously finds emails that they say did not exist,
exactly what they told Judge Marquez.

EXHIBITS P
{ 18 Emails from ADOC that counsel said did not exist to Judge
Marquez, similar to the order I sought, but Judge Marquez refused
to issue.

EXHIBITS Q
{ 19 Emails from Wexford that counsel said did not exist to Judge
Marquez, similar to the order I sought, but Judge Marquez refused
to issue.

EXHIBITS R
{ 20 Emails from Centurion that counsel said did not exist to Judge
Marquez, similar to the order I sought, but Judge Marquez refused
to issue.

EXHIBITS S
{ 21 Emails from Corizon that counsel said did not exist to Judge
Marquez, similar to the order I sought, but Judge Marquez refused
to issue.

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EXHIBITS T
{ 22 ADOC mysteriously finds non existent emails after court order,
similar to the order I sought, but Judge Marquez refused to issue.

EXHIBITS U
{ 23 Corizon ordered to explain how these non existent emails
mysteriously surfaced, after court order.

EXHIBITS V
{ 24 Sarah Barnes, the lawyer for Centurion, obtains a false
declaration from Dr. Wendy Orm that Centurion does not use
emails to discuss inmate care, but subsequent emails, shows

otherwise. Exhibit R

REASONS WHY THIS APPEAL SHOULD BE ALLOWED

THE DISTRICT COURT SHOULD HAVE
DENIED SUMMARY JUDGMENT WHEN
I HAVE SHOWN BY CLEAR AND CONVINCING
EVIDENCE THAT DEFENDANTS
HAVE THE EVIDENCE I NEED
AND REFUSE TO GIVE THESE TO ME

{ I appear pro se because lawyers do not wish to expend resources
fighting Defendants, stating they engage in litigation misconduct. I
have spoken to more than 100 lawyers, nationwide, since 1992,
but, when it comes to Arizona, they all are unanimous, in this
regards.

| Defendants take prisoner litigation, like war. They take the
position that, as lawyers they can make prisoners life miserable,
put them through hell, and will eventually defeat your adversary.
As one scholar noted, “[t]hough perceptions differ, there seems to

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be some consensus that adversary excess is frequent, often not by
any standard justifiable as zealous representation, and that many
lawyers will indeed cross ethical lines when they think they can get
away with it, which, because of the weakness of monitoring agents,
they usually do.” Robert W. Gordon, The Ethical Worlds of Large-
Firm Litigators: Preliminary Observations, 67 FORDHAM L.
REV. 709, 736 (1998).

{ The most harmful form of discovery abuse is likely in the form of
attorney deceit, which I proved by clear and convincing evidence. No
one can dispute “the discovery system is designed to facilitate
truth-finding.” W. Bradley Wendel, Rediscovering Discovery
Ethics, 79 MARQ. L. REV. 895, 895 (1996). Yet, deception
during discovery is all too common, especially with these lawyers,
as I showed, Judge Roslyn Silver found . As one scholar noted, “one
reason for [attorney misconduct] is the tension inherent in the
discovery process.” Alex B. Long, Attorney Deceit Statutes:
Promoting Professionalism Through Criminal Prosecutions and
Treble Damages, 44 U.C. DAVIS L. REV. 413, 423 (2010). Absent
information protected by the attorney-client privilege or work
product doctrine, the rules of civil procedure require full disclosure
during discovery; yet providing an opposing party with information
that might harm the client’s case seems to conflict with zealous
advocacy. I demonstrated Defendants abusing this privilege to
conceal non privileged documents and regular business records,
with the court rubber stamping them. This quandary appears to be
a true Catch-22 from which there is no escape. Thus, when these
mutually conflicting situations arise, “the natural tendency for
many lawyers is to resist the disclosure of client information” or
consciously deceive the opposing party in order to gain a tactical
advantage.

{ Defendants violated their duty of full and fair disclosure of
material facts and evidence, and their failure invalidates the
judgment. These facts and evidence are under their control,
known to them and their counsel, affecting my rights and
interests. I specifically requested these facts and evidence , and

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Defendants denied their existence , by declarations and oral
representations to the courts. They had the duty to disclose and by
so doing they prevented just adjudication of my claims. I showed
how these documents show that the version of facts
Defendants present are false.

{ There is an old adage that nice guys finish last. It is well
documented that in litigation, this maxim oftentimes rings true.
General William Tecumesh Sherman stated, “War is Hell!”
William Tecumseh Sherman, WIKIQUOTE,
http: //en.wikiquote.org/wiki/William_Tecum

seh_Sherman (last visited Jan. 5, 2016).

{ In re Griffith, 800 N.E.2d 259 (Mass. 2003) an attorney was
disciplined for failing to make critical disclosures during discovery
and trial concerning his client’s medical records and treatment. In
that case, the lawyer represented the estate of Morris Pina, Jr. ina
lawsuit against the City of New Bedford for police misconduct. New
Bedford police officers arrested Pina and, while in custody, he died.
Before commencing the trial, however, the lawyer for the estate
learned that Pina was being treated for medical problems and had
tested positive for human immunodeficiency virus (HIV). And when
specifically asked through interrogatories whether Pina had ever
been treated or admitted to a hospital prior to the alleged incident,
the estate responded that it had no knowledge of any treatment or
admissions. These responses were false. The estate was also served
with a request for documents, including a request to produce all
medical records with any doctor or hospital rendering treatment on
behalf of Pina for a period of five years prior to Pina’s death. The
lawyer never produced the documents he had in his possession
that would have been responsive to this request. Furthermore, the
attorney retained an expert economist to testify on damages arising
from Pina’s alleged wrongful death. However, the lawyer never told
the expert about the HIV. Accordingly, the expert calculated the
decedent’s total loss of pleasure of life exceeded two million dollars.

{ At trial, the estate was awarded damages in the amount of

$435,000. But, during trial the defendant learned of the HIV and

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opposing counsel’s calculated efforts to conceal this material
information. Following trial, the parties settled for $555,000 and
defense counsel sought sanctions against the lawyer, alleging that
he had withheld this critical information during discovery and _ trial.
After a hearing, the judge entered an order in which he found that
the lawyer had “engaged in a pattern of activity to hide [Pina’s HIV
status] from the defendants and initially .. . from the court, and
had engaged in deliberate misconduct in connection with
[plaintiff's] responses to the defendants’ interrogatories.”

{ Violating or otherwise ignoring these discovery-based rules have
broad implications. As Mancia v. Mayflower Textile Servs. Co.,
253 F.R.D. 354, 362 (D. Md. 2008) (citation omitted) noted, a
lawyer who makes boilerplate objections to discovery requests
without particularizing their basis, or who is evasive or incomplete
in responding to discovery, or pursues discovery in order to make
the cost for his or her adversary so great that the case settles to
avoid the transaction costs, or who delays the completion of
discovery to prolong the litigation in order to achieve a tactical
advantage, or who engages in any of the myriad forms of discovery
abuse that are so commonplace is . . . hindering the adjudication
process, and .. . violating his or her duty of loyalty to the
“procedures and institutions” the adversary system is intended to
serve. I provided orders by Arizona Federal Judges showing this.
EXHIBITS L T,U

§ The Advisory Committee’s Notes to Rule 26(g) provide further
guidance: Rule 26(g) imposes an affirmative duty to engage in
pretrial discovery in a responsible manner that is consistent with
the spirit and purposes of Rules 26 through . In addition, Rule
26(g) is designed to curb discovery abuse by explicitly encouraging
the imposition of sanctions. The subdivision provides a deterrent to
both excessive discovery and evasion by imposing a certification
requirement that obliges each attorney to stop and think about the
legitimacy of a discovery request, a response thereto, or an
objection. .. . If primary responsibility for conducting discovery is to
continue to rest with the litigants, they must be obliged to act

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responsibly and avoid abuse. I provided clear and convincing
evidence of this and the court declined to do anything because I am
a prisoner. EXHIBITS L T, U

{ Furthermore, tampering with the administration of justice in the
manner indisputably shown here involves far more than an injury
to a single litigant. It is a wrong against the institutions set up to
protect and safeguard the public, institutions in which fraud
cannot complacently be tolerated consistently with the good order
of society. Surely it cannot be that preservation of the integrity of
the judicial process must always wait upon the diligence of
litigants. The public welfare demands that the agencies of public
justice be not so impotent that they must always be mute and
helpless victims of deception and fraud. Universal Oil Prods. Co. v.
Root Refining Co., 328 U.S. 575 (1946) Though I provided clear
and convincing evidence of this, the court declined to take any
action, because these persons happen to be lawyers. EXHIBITS L
T,U

{The logic is clear: “[T]he law favors discovery and correction of
corruption of the judicial process even more than it requires an end
to lawsuits.” The United States Supreme Court—in a case a few
years after the Hazel- Atlas case—discussed some. of the appropriate
procedures used in adjudicating fraud on the court claims. The
power to unearth such a fraud is the power to unearth it effectively.

MY RULE 56(d) APPLICATIONS SHOULD HAVE BEEN GRANTED
BECAUSE I SET FORTH IN VERY DETAIL WHAT EVIDENCE WAS
CONCEALED, WHAT THE EVIDENCE WOULD HAVE REVEALED,
AND SUBSEQUENT DECISION BY JUDGE ROSLYN O. SILVER IS
EVIDENCE THAT ARE NOT PART OF INMATE MEDICAL
RECORDS AS I HAVE SET FORTH IN MY 56(d) DECLARATIONS

{ I filed Rule 56(d) declarations showing the court how the ADOC,
Corizon, Centurion systems work and how records are generated,
and that the emails are not in my medical and prison records. I

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also showed how I know these emails exist, and how, when
produced, they would result in a decision in my favor.

{Counsel submitted declarations and pleadings denying these facts
made by me. Defendants had the court decide this case on
manufactured facts and I showed this by clear and convincing
evidence. Alexander v. Robertson, 882 F.2d 421, 424 (9th Cir.
1989) England v. Doyle, 281 F.2d 304, 309 (9th Cir. 1960)
Rozier v. Ford Motor Co., 573 F.2d 1332, 1338 (5th Cir. 1978).

{In plain language by letter Assistant Arizona Attorney General
Paul carter advised me he shall not give me these documents and I
gave that letter to the judge. (See Exhibits J, letter concerning the
role of Paul Carter in falsifying evidence as to me)

{ By orders of District Judge Roslyn Silver and the Magistrate
Judge, Corizon, Ryan, Shinn released never before seen
documents. EXHIBITS L T, U

{ The Wexford emails going to July 2012 show Centurion May 20,
2020 Corizon going to 2013 Ryan Shinn emails going to
December 14, 2011 show that those in the prisons, healthcare
providers and other prison employees, do not make decisions. They
are straw men who signoff. EXHIBITS L T, U

{ For example, Igwe (my healthcare provider) had to get approval
to provide treatment (one of my allegations), Sego the FHA had to
get approval about Pentaho Reports which I asked for and they said
did not exist . Dr. Johnson had to direct Kary (my provider) to
defer treatment (one of my allegations) Dr. Robertson directs the
treatment be given (directed my treatment stopped) (one of my
allegations that ADOC Central Office staff not providers were
directing my treatment and emails support this fact)
Wexford Mullinex directed treatment (one of my allegations) Dr.
Whalen for Centurion directed Igwe provide care directives were
sent by emails as to what care to be given. (one of my allegations)
Centurion Barnes had Dr. Orm give a declaration used before

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Judges Silver and Liburdi stating “Centurion providers do not
communicate patient care issues through email” a fact they knew
was false. (one of my allegations) | Wexford, Centurion, Corizon,
Ryan and Shinn obtained declarations by straw men, who stated
they were exercising their independent professional judgment in
making healthcare decisions, when these emails show otherwise.
(one of my allegations) Decisions are actually made by Wexford,
Corizon, Centurion, Ryan and Shinn corporate employees. (one of
my allegations) With these emails, these prisoners would have
prevailed. These are not discrete acts but continuing wrongful
conduct, concealing material facts. (one of my allegations)
EXHIBITS L T, U

I HAVE SHOWN BY ORDERS JUDGE SILVER AND OTHER
ARIZONA FEDERAL JUDGES BY AND THROUGH THE USE OF
STRAWMEN, WEXFORD, CORIZON, CENTURION, RYAN, SHINN

WITH THE ATTORNEY FOR DEFENDANTS, HAVE DECEIVED
FEDERAL JUDGES IN ARIZONA AND JUDGE MARQUEZ

1 Attached email dated January 30, 2019 is a sample of
documents that I read. In this document the Director of ADOC
Health Services directed providers to change medical treatment for
non medical reasons. I read about 200 such directives from ADC
including Johnson, Erwin, and others, 22 from Wexford, 35 from
Corizon, 62 from Arizona Attorney General’s Office employees
Copple, Gottfried, Carter, O'Toole, Morrissey, Brodsky, and others.

{ By orders of District Judge Roslyn Silver and the Magistrate
Judge Corizon, Ryan, Shinn released, never before seen
documents on March 10, 2021 and March 19, 2021 They
submitted a 31 Page privilege log, showing that their previous
contentions, made in prisoner litigation nationwide, that documents
do not exist, are false. EXHIBITS K,T,U

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AFTER JUDGE SILVER DIRECTED A STATEMENT UNDER
PENALTY OF PERJURY, CORIZON, CENTURION, RYAN, SHINN,
BARNES, FERNANDEZ, QUINTAIRIOS AND BROENING OBERG
MAKE 801(d)(2) STATEMENTS THAT MEDICAL RECORDS DO
NOT HAVE THE COMPLETE RECORD OF INMATE TREATMENT

{ Counsel for the Centurion and Corizon Defendants averred that
communications concerning Plaintiff's medical care are contained in
Plaintiff's medical records, which he has been provided or had
access to, and that neither Centurion nor Corizon Defendants have
any further emails.” (Doc 428 CV 18-0066 RM pp 2 line 25-28).
This is a material false statement for this was and has never been
done. These attached emails, and exhibits show these
representations are and were false, and they knew they to be false.

{ “Within fourteen days of this Order, Corizon and Corizon
employees must file a statement explaining which emails were
provided to Plaintiff. If no emails were provided, Corizon and
Corizon employees must provide a declaration, under penalty of
perjury, explaining why no emails were available for production.”
(Judge Roslyn Silver 19-CV 04638 ROS JFM Shank v Corizon Doc
93 pp 4 line 9-13)

{ Fernandez and Quinairos Prieto represented in Doc 96 “An
extensive email search was completed and Defendants were just
granted access to these search results today” (19-CV 04638 ROS
JFM Shank v Corizon Doc 96 line 18-20) When a declaration under
penalty of perjury was ordered, all of a sudden emails surface.

{ Fernandez, Quintairios, Ryan, Shinn And Corizon Admit They
Have Concealed Evidence After Judge Roslyn O. Silver Directs
Statement Be Given Under Penalty Of Perjury submitting an
extensive privileged log on documents they contend do not exist

| When I presented this evidence to the court, the judge declined to
issue an order, though this showed, evidence exists.

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AFTER ATTORNEY ERICKE ADVISED JUDGE SILVER MEDICAL
RECORDS DO NOT HAVE EMAILS, HE WAS TERMINATED BY
CORIZON, QUINTAIRIOS, FERNANDEZ

q Attorney Jaric Ericke advised Judge Silver that Corizon concealed
emails. Corizon, Quintarios, Fernandez terminated his services for
advising the court that Corizon Quintairos concealed evidence. This
shows that Corizon and counsel do not want to disclose evidence in
inmate litigation.

I HAVE SHOWN AFTER ARIZONA ATTORNEY GENERAL WAS
CAUGHT CONCEALING EMAILS, THE COURT REOPENED
SUMMARY JUDGMENT, DIRECTING CROSSMOTION BE FILED

{ Gottfried represented “Counsel for the ADOC Defendants averred
at the hearing that Defendants searched ADOC’s email records for
Plaintiffs name and provided Plaintiff with all non-privileged emails
within the time period relevant to his current complaints, along
with a privilege log” (Doc 428 CV 18-0066 RM pp 2 line 22-25).
This is a material false statement for this was and has never been
done. EXHIBITS T they made a similar representation and when
the judge ordered emails searched, they provided emails, resulting
in the court ordering reopening of summary judgment briefings.

PLRA DOES NOT REQUIRE REPEATED EXHAUSTION OF
CLAIMS REPEATEDLY REJECTED BY THE GRIEVANCE
SYSTEM AS TO THE PLAINTIFF

{ Application of grievance policy must not be inconsistent with
1983. Spruill v. Gillis, 372 F.3d 218, 234 (3 Cir. 2004)

{ There is only one Arizona State Prison and it is their grievance
policy that governs. PLRA does not apply to Corizon, or Centurion,

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but to the prison system. When the prison system is presented the
claims, they are exhausted. Exhaustion is governed by policy of the
prison. I exhausted these remedies over and over as to the clams
on prison conditions. And no declaration reflects otherwise.
DeFranco v. Wolfe, 2007 WL 1704770, 4 (WD Pa. June 12,
2007).

From the declarations Defendants submitted, they, selectively
omit the fact that I repeatedly have presented my claims through
the grievance process, and these claims have been rejected.
Allegations have been repeatedly reported through the grievance
processes, investigated, rejected, hence not requiring further
exhaustion. Camp v. Brennan, 219 F.3d 279, 280 (3° Cir. 2000).
These actions taken were through policies Shinn adopted.
Robinson v. Johnson, 343 Fed. Appx. 778, 781-82(3" Cir.
2009).

{ I clearly identified the threats I received from Boschuweicz and
how she took retaliatory actions against me by having Ullibarri seize
privileged documents, documents as to this litigation, and advised
me I shall be moved if I insist. There must be a shared factual
basis, not perfect overlap, between grievance and complaint.
Reeder v. Doe, 507 F. Supp. 2d 462, 482 n 16 (D. De. 2007) I
have been told not to grieve these issues and Deputy Warden
Arnold has informed me ADOC will decide what grievances ADOC
shall file.

{ I have been directed by Co IV John Mattos not to grieve these
issues. Mr. Mattos stated “These issues have been sent through our
grievance process and you no longer have to grieve these issues
since they have been grieved previously.” February 20, 2018 I
submitted a grievance appeal to the Director stating “I have given
Moore, Radford, Boschuweicz, Mendoza in excess of 12 grievances.
Boschuweicz called me to her office. When I refused to withdraw
these Boschuweicz -in my presence shredded these grievances. She
told me if I complained she will say there is no record, and no one

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will believe me. She should be disciplined and the grievances
recorded.” EXHIBITS A

{ June 2, 2019 I submitted a grievance appeal to the director
“Between February 2018 through June 2019 I have turned in 12
grievances and appeals and all have been destroyed by the CO IV.
These are no record of these. I ask they be located.” All these have
been turned in as appeals and there is no record of these. These
have been destroyed. Boshuweicz destroys the complete grievance
records and these Exhibits are proof of this fact. EXHIBITS A

{ I have been told by Boschuweicz in early 2018 if I were to
continue the grievance process, she shall have me disciplined and

moved. I lodged complaints about this threats but no action was
taken.

q As I have seen Boschuweicz move inmates Williams, Reed,
Sheppard and others for using the grievance process, I knew she
would move me, if I used the process.

{I know she can do this because after Debra Han told me not to
grieve issues which I grieved, she had me moved to East Unit in
April 2016.

{ In 2010 when I insisted on using the grievance process DW Anna
Jacobs had me moved from Santa Rita to Manzanita.

{ In 2009 when I insisted on grieving Charles Ryan I was moved by
the CO IV from Cimmaron to Santa Rita.

{ In 2006 when I insisted on using the grieving process Jenniffer
Romwebber had me moved from Barchey to Cook.

{ So based on my past experience I know if I did not listen to
Boschuweicz she would have moved me.

{ As retaliation for using the grievance process and courts, In
March 2019 upon the orders of Boschuweicz, Erwin, Glynn, Dudley,
Ryan and others, Ullibarri took 35 CDS/DVDS with privileged
documents, kept these for 79 days, and 14 of these are missing.

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BY CLEAR AND CONVINCING EVIDENCE I HAVE SHOWN ADOC
DESTROYS MY ORIGINAL RECORDS AND THEN DISPUTES THE
CONTENTS OF RECORDS THEY DESTROYED

{ ADOC destroys my records as a matter of routine and then
disputes the contents of the records ADOC destroys.

{| Daryl Johnson sent a memo asking staff to retaliate against me.
As a consequence from four secure locations my records were
destroyed and I prevailed in the grievance process, and
Defendants denied the contents of these records, though emails
support them. As these records exposed Johnson, Klausner, Ryan,
Carter, Morrissey, Attorney General’s staff and others to liability,
Johnson had Shelly Sonberg declare the reconstructed records
invalid. THIS HAS NEVER BEEN DONE PREVIOUSLY IN THE
HISTORY OF THE ARIZONA PRISON SYSTEM. Defendants then
disputed the contents of the records.

| My medical records were also destroyed as a consequence of
Johnson’s memo. Defendants denied me the treatment that I
received and were in these records they destroyed. EXHIBITS D

{ In order to prevent me from seeking relief in courts my legal
materials were lost preventing me from seeking PCR relief and
presenting evidence. Paul Carter had CO III Diana Bullock forge
documents and Erwin, Ullibarri, Dossett, Glynn, Boschuweicz.
Johnson, Klausner, Ryan, Carter, Morrissey, Attorney General’s
staff, Ryan, Shinn directed prison officials not to follow policy as
to legal access when it came to me.

{ In March 2019 upon the orders of Boschuweicz, Erwin, Glynn,
Dudley, Ryan and others, Ullibarri took 35 CDS/DVDS with

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privileged documents, kept these for 79 days, and 14 of these are
missing Defendants disp uted the contents of these.

q Boschuweicz in no uncertain terms advised me that my
grievances were destroyed when I spoke to her in early 2018 and
2020. In fact in. early 2018 she called me to her office about 12
grievances. Boschuweicz asked me to withdraw them. When I
refused to withdraw these, in my presence, Boschuweicz shredded
these. She told me these are now resolved and that if I were to
complain, no one would believe me. I submitted appeals to the
Director about her destroying these grievances, and not keeping
records, of grievances I submitted.

4 In line with the ADOC practice of destroying my records and

disputing their existence, Boschuweicz denied there was any record
that my grievances were unprocessed.

RETALIATION FOR USING THE GRIEVANCE

{ As retaliation for my using the grievance process Boschuweicz
had Ullibarri seize 35 CDS and 14 are missing. ADOC as retaliation
lost my legal documents preventing me from seeker PCR relief .

{ Ihave been moved 21 times as retaliation for using the grievance
process and judicial process.

q I have also been directed by Deputy Warden James Arnold that
ADOC will decide whether or not they will allow me to grieve issues
and what issues I will be allowed to grieve. Cheryl Dossett has
repeatedly told me in writing that issues will not be addressed
when I have submitted appeals. I have presented these issues too
many times through the grievance process and obtained no relief.

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CO IV Diane Boschuweicz has destroyed the grievances I gave her
and told me ifI insist on grieving the issues, I shall be transferred
again.

{ Recently Judge G. Murray Snow issued an order finding colorable
and scheduling a evidentiary hearing, that Boschuweicz is
destroying grievance records and retaliating, Gottfried waived the
defense, as Gottfried cannot put Boschuweicz on the stand. She will
lie as emails by her which Gottfried conceals contradict what she
states.

{ The documents that I asked for and which were concealed
contradict the assertion by Defendants Corizon; Centurion;
Ryan; Shinn; and show most, if not susbstantial part of the
allegations I contend are correct.

{ Ihave no available administrative remedies because those who
administer the process have been directed to not afford him relief.
Boscuhweicz destroys all grievance records and Gottfried are aware
of this have refused to ensure corrective action be taken.

{ These documents sought show the regular manner by which
ADOC responds to inmates who use the grievance and litigation
process to challenge the misconduct by prisoner employees is
retaliation.I have stated and documents attached support this fact,
that Central Office employees and Attorney General staff have
directed I be retaliated against.

4 I have also stated that as retaliation for my access to courts and
using the grievance process, ADOC Central Office staff with
approval of Attorney Genera’s staff have directed staff deny me
access to courts, discipline me, change orders against me. The
attached documents support this.

{ I presented these issues too many times through the grievance
process and obtained no relief. CO IV Diane Boschuweicz has
destroyed the grievances I gave her, and told me if I insists on
grieving, I shall be transferred again. On December 20, 2020 I

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again contacted the administration about these issues, and
Deputy Warden Patrick O’Brien refused to take any action.
Recently, Judge G. Murray Snow of Phoenix, Arizona issued an
order finding Boschuweicz is destroying inmate grievances and
retaliating, scheduling an evidentiary hearing, but Gottfried waived
the defense, as Gottfried fears, Boschuweicz will lie under oath, and
Gottfried has concealed emails that show Boschuweicz destroys
records and retaliates.

NO AVAILABLE REMEDY

{ I have no available administrative remedies because those who
administer the process have been directed to not afford me relief.
Boscuhweicz destroys all grievance records and Gottfried; aware
of this have refused to ensure corrective action be taken.
December 20, 2020 when I brought this to the attention of Deputy
Warden Patrck O’Brien, he covered this up. I have no available
administrative remedies for these reasons and because those
who administer the process have been directed to not afford me
relief. Boscuhweicz destroys all grievance records and Gottfried;
aware of this have refused to ensure corrective action be taken, and
as I have been transferred as retaliation.

VEXATIOUS GRIEVANCE

{ 1 know Boshuweicz had the authority to place me on the
vexatious grievance list as she placed inmate Reed 108264 on it.

{ I was put on the grievance abuse list by DW James Arnold in
2006 and am still on it because I insisted on using the grievance .

{ I have repeatedly been told by Cherly Dossett Central Office
grievance officer not to grieve issues previously decided, even if
there are new facts, because issues one decided, are final.

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{ Julliette Respicio-Moriarity Central Office Medical Grievance
officer sent a email to CO IV Nelson and directed him to tell me not
to grieve issues as to my blood pressure, medication etc, because
Central Office has decided these against me.

THESE LAWYERS HAVE VIOLATED THE PUBLIC POLICY OF
FAIRNESS AND TRUTHSEEKING USED BY FEDERAL COURTS

4 The public policy of federal courts is truth seeking and fairness
which is not satisfied by access to the courthouse doors Ake v.
Oklahoma, 470 U.S. 68 (1985). In other words the “fact- finding
process in our courts (must not) be reduced to a mockery” (text
modified for emphasis). Bowmar Instrument Corp v. Texas
Instruments Inc., 25 Fed. Rules. Serv. 2d. (Callaghan) 423, 427
(N.D. Ind. 1977). Williams v BASF Catalysts, 765 F3d 306 (3rd
Cir.2014)

{ The 56(d) declarations and orders by other Arizona Federal judges
that I presented, show how emails concealed by Defendants
mysteriously appeared when Judge Roslyn Silver ordered a
declaration under penalty of perjury be submitted, violating the
public policy of federal courts.

I HAVE PRESENTED CLEAR AND CONVINCING EVIDENCE THAT
THE EVIDENCE I ASKED FOR AND WHICH DEFENDANTS
DENIED EXISTED, EXIST AND WOULD HAVE CHANGED THE
RESULTS AS TO ME

{ I have through court orders that medical records and prison
records do not have emails, internal reports, audits, directives to
staff, directives not to treat me, directives to retaliate against me,

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complaints against Corizon, Ullibari Centurion, and employees
who took actions on their behalf against me. These would have
changed the results in the cases from which these were concealed,
and Plaintiff would have prevailed .

I HAVE BY CLEAR AND CONVINCING EVIDENCE SHOWN THAT
UPON DIRECTIVES OF COUNSEL AND DEFENDANTS,
ULLIBARRI WAS SENT TO SEARCH AND SEIZE EVIDENCE,
HENCE I SHOULD HAVE BEEN ALOWED TO SUPPLEMENT AND
OR AMEND MY COMPLAINT

{ In May 20181 received CDS/DVDS from counsel and this was
the first time that I saw documents that reflect the concealment of
evidence, a subject matter of this case. I have been told by
Boschuweicz that Ullibarri gave these privileged documents that
were on CDS/DVDS_ to’ Erwin and Glynn, and their contents
discussed with Gottfried, and counsel for Corizon, Centurion and
Wexford by orders of Ryan. Shelby Negron advised me _ that
documents on Wexford were mailed to Wexford in Pittsburgh by
her. The evidence that I read on the CDS/DVDS I received in May
2018 were not presented to the judges in the cases, because
Defendants concealed them, for had they been presented Plaintiff
would have prevailed in the litigation. In no uncertain terms the
documents that I read in these CDS/DVDS from Weber Gallagher,
Wexford, Corizon, Centurion, Centurion LLC, Gottfried, , Morrissey,
Klausner, Struck and others , direct lawyers, not to disclose
evidence to prisoners and to use every procedural device to
frustrate prisoner litigation .

REQUEST FOR APPOINTMENT OF COUNSEL

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{ The issues in this case are highly technical and complex. The
Arizona Prison System does not have law libraries. I ask that
counsel be appointed to aid the court in this matter.

CONCLUSION
{ Plaintiff submits this Notice of Appeal, asks for Leave to appeal
and requests counsel. These issues of fact and law are very
complex, and counsel can better aid the Honorable court to
adequately resolve this matter.

Respectfully submitted,

ANANT KUMAR TRIPATI

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